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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF GEORGIA
                                    AUGUS'l A DIVISION



IN RE;                                 CaseNos.   CRl20-026, USA v. Howard
                                                  CR12U013,USAv. Valero. et al
LEAVE OF ABSENCE REQUEST                          CR121-047, USA v. Hardman, et al
                                                  CR121-048. USA V. Sias
PATRICIA G. RHODES                                CR121-084, USA V. Cogan
June 3, 2022-June 9, 2022                         CR122-001. USA V. Ramsey
                                                  CR122-012. USA v. Dukes
                                                  CR122-013, USA V. Liddell




                                           ORDER


       Patricia G. Rhodes having made application to the Court for a leave of absence, and it

being evident from the application that the provisions of Local Rule 83.9 have been complied

with, and no objections having been received;

       IT IS HEREBY ORDERED THAT Patricia G. Rhodes be granted leave of absence

for the following pedod June 3,2022 through June 9,2022.

       This<;^7^^cmV of March, 2022.



                                            UNITEI/> STAPES DISTRICT COURT
                                                   ERN DISTRICT OF GEORGIA
